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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                             )
PUBLIC CITIZEN,                              )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )
                                             )
DEPARTMENT OF HEALTH AND                     )
HUMAN SERVICES,                              )       Civil Action No. 11-1681
                                             )       Judge Beryl A. Howell
               Defendant,                    )
                                             )
       v.                                    )
                                             )
PFIZER INC. and PURDUE PHARMA                )
L.P.,                                        )
                                             )
               Defendant-Intervenors.        )
                                             )

                            DECLARATION OF JULIE A. MURRAY

I, Julie A. Murray, declare as follows:

       1.      I am counsel for plaintiff Public Citizen in the above-captioned case. I have

personal knowledge of the facts stated herein.

       2.      In response to Public Citizen’s FOIA request at issue in this case, defendant

Department of Health and Human Services (HHS) disclosed a Pfizer-submitted record indicating

that, by 2006, the federal government was Pfizer’s “largest customer, accounting for

approximately 45% of U.S. sales.” Attached as Attachment A is a true and correct copy of the

relevant excerpt of that record. For the Court’s convenience, a complete copy of this record has

been posted at http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-Integrity-Agreements.




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       3.     The HHS Office of Inspector General (OIG) maintains a web page that provides

general information about Corporate Integrity Agreements (CIAs). Attached as Attachment B is

a true and correct copy, as of May 30, 2012, of that web page, which is also available at

http://oig.hhs.gov/compliance/corporate-integrity-agreements/index.asp.

       4.     OIG provides on its website copies of CIAs with various entities, including

pharmaceutical companies. Attached as Attachment C are true and correct copies obtained from

OIG’s website of excerpts of CIAs between OIG and (1) Abbott Laboratories, (2) Allergen, Inc.,

(3) Bristol-Myers Squibb, and (4) Eli-Lilly and Company. Each of these documents contains

two sections addressing how information submitted to OIG by the company pursuant to a CIA

will be treated for FOIA purposes. These documents are available in full on OIG’s website at

http://oig.hhs.gov/compliance/corporate-integrity-agreements/cia-documents.asp.

       5.     In response to the FOIA request at issue in this case, HHS disclosed redacted

portions of certain records that refer to Ineligible Persons. Attached as Attachment D are true

and correct copies of some of these records, which have also been posted at

http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-Integrity-Agreements.

       6.     In response to the FOIA request at issue in this case, HHS disclosed a record that

reflects a transmittal memorandum and supplement to Purdue’s First Annual Report. Attached

as Attachment E is a true and correct copy of that record, which has also been posted at

http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-Integrity-Agreements.

       7.     In response to the FOIA request at issue in this case, HHS disclosed redacted

letters relating to Pfizer’s IRO Reports. These letters appear to memorialize an agreement

between OIG and Pfizer with respect to the scope of Pfizer’s IRO reviews.          Attached as




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Attachment F are true and correct copies of those letters, which have also been posted at

http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-Integrity-Agreements.

       8.     In response to the FOIA request at issue in this case, HHS disclosed a letter from

OIG to Pfizer regarding the application of FOIA to Pfizer submissions pursuant to a 2002 CIA

that Pfizer had with OIG. Attached as Attachment G is a true and correct copy of that letter,

which has been posted at http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-Integrity-

Agreements.

       9.     In response to the FOIA request at issue in this case, HHS disclosed records from

Pfizer that refer to Pfizer’s submission of responses to IRO reports and corrective action plans.

In these documents, Pfizer indicated that it intended to provide OIG with such information under

separate cover (or that in some cases Pfizer might submit such information in the IRO reports

themselves) and at a later date. Attached as Attachment H are true and correct copies of these

records, which have been posted at http://www.citizen.org/PCvHHS-Pfizer-Purdue-Corp-

Integrity-Agreements.

       I declare under penalty of perjury that the foregoing is true and correct, to the best of my

knowledge, information, and belief.

       Executed May 31, 2012, in Washington, DC.



                                             /s/ Julie A. Murray
                                             Julie A. Murray




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